                   Case 1:15-bk-11488        Doc 93 Filed 11/27/18 Entered 11/27/18 16:53:06                 Desc
                                                 Hearing Notice Page 1 of 1
                                             UNITED STATES BANKRUPTCY COURT
                                                 DISTRICT OF RHODE ISLAND


_____________________________________________________________________________________________________________
         In Re: LaSalle Health Service, Inc.                BK No. 1:15−bk−11488
         Debtor(s)                                          Chapter 7

______________________________________________________________________________________________________________

                                                       NOTICE OF HEARING



        PLEASE TAKE NOTICE that a hearing will be held at:

        U.S. Bankruptcy Court, 380 Westminster Street, Providence, RI 02903 on 12/12/18 at 10:00 AM to consider and
        act upon the following:

        #86 Motion to Sell filed by Trustee Charles A. Pisaturo, #89 Response/Request for Hearing filed by Trustee
        Charles A. Pisaturo, #90 Response/Notice of Higher Bid filed by Interested Party Finalize Bankruptcy Inc.

        It is recommended that counsel utilize courtroom technology. If familiarization in use of the document camera
        and/or touch screens is required, please plan on arriving twenty minutes in advance of the hearing and meet with
        the Court Recorder for training.




                                                             Date: 11/27/18
        Entered on Docket: 11/27/18
        Document Number: 93 − 86, 89, 90
        500.jsp




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                  The Federal Center · 380 Westminster Street, 6th Floor · Providence, RI 02903 · Tel: (401) 626−3100

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